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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                               BROWNSVILLE DIVISION




       UNITED STATES OF AMERICA,           )   CASE NO:    1:12-CR-00435-1
                                           )
                         Plaintiff,        )              CRIMINAL
                                           )
             vs.                           )        Brownsville, Texas
                                           )
       TOMAS YARRINGTON RUVALCABA,         )    Thursday, April 26, 2018
                                           )
                         Defendant.        )    (1:34 p.m. to 1:42 p.m.)


                         ARRAIGNMENT AND DETENTION HEARING

                        BEFORE THE HONORABLE RONALD MORGAN,
                           UNITED STATES MAGISTRATE JUDGE




       APPEARANCES:                   See page 2


       Interpreter:                 Monica Licea-Castro

       Clerk:                         Bertha Vasquez

       Court Recorder [ECRO]:       Balvina Campos

       Deputy U.S. Marshal:         Bobby Lara

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                                    361 949-2988




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       transcript produced by transcription service.
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       APPEARANCES:


       For Plaintiff:               JODY YOUNG, ESQ.
                                    KAREN BETANCOURT, ESQ.
                                    Assistant United States Attorney
                                    600 E. Harrison, Suite 201
                                    Brownsville, Texas 78520

       For Defendant:               CARLOS N. MONARREZ, ESQ.
                                    Valdez & Monarrez
                                    914 E. Van Buren St.
                                    Brownsville, Texas 78520

       U.S. Probation:              Annette Escamilla




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  1         Brownsville, Texas; Thursday, April 26, 2018; 1:34 p.m.

  2                    (Interpreter Utilized for Translation)

  3                                   (Call to Order)

  4                  THE COURT:    Good afternoon.      Please be seated.

  5                  Call B12-cr-531-S-1, United States v. Tomas

  6    Yarrington Ruvalcaba.

  7                  MR. MONARREZ:    Good afternoon, your Honor.          Carlos

  8    Monarrez on behalf of Mr. Yarrington-Ruvalcaba.

  9                  MR. YOUNG:    Jody Young and Karen Betancourt for the

 10    United States, your Honor.         The United States is present and

 11    ready to proceed.

 12                  THE COURT:    All right.     Swear the Defendant, please.

 13            (Defendant sworn)

 14                  THE COURT:    For the record, sir, what's your full

 15    name.

 16                  THE DEFENDANT:    Tomas Jesus Yarrington Ruvalcaba.

 17                  THE COURT:    How old are you?

 18                  THE DEFENDANT:    Sixty-one years old.

 19                  THE COURT:    How far did you go in school?

 20                  THE DEFENDANT:    Up to a master's in public

 21    administration.

 22                  THE COURT:    Do you read and write Spanish?

 23                  THE DEFENDANT:    Yes.

 24                  THE COURT:    Do you understand what the Court

 25    interpreter is telling you through the headphones?
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  1                  THE DEFENDANT:    Yes.

  2                  THE COURT:   If at any time during these proceedings

  3    you do not understand something the Court interpreter says or

  4    if the headphones malfunction and you can't hear what she says,

  5    I want you to raise your hand and indicate to me you did not

  6    hear or did not understand so I can get it cleared up for you.

  7                  Do you understand that procedure, sir?

  8                  THE DEFENDANT:    Yes, sir.

  9                  THE COURT:   Mr. Yarrington, have you ever been

 10    committed to a mental institution or treated for a mental

 11    illness of any sort?

 12                  THE DEFENDANT:    No.

 13                  THE COURT:   Are you under the influence of anything,

 14    drugs, alcohol, or medication, that prevent you from thinking

 15    clearly?

 16                  THE DEFENDANT:    No.

 17                  THE COURT:   Mr. Yarrington, you are appearing --

 18    well, let me ask you this first.           Have you seen or received a

 19    copy of the Indictment, that is, the charges that have been

 20    filed against you?

 21                  THE DEFENDANT:    Yes, I did.

 22                  THE COURT:   Now, you're appearing here with

 23    Mr. Monarrez.      Is he your lawyer?

 24                  THE DEFENDANT:    Yes.

 25                  THE COURT:   Have you had a chance to meet with
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  1    Mr. Monarrez and talk about the charges in your case?

  2                  THE DEFENDANT:    Yes.

  3                  THE COURT:   Do you understand those charges?

  4                  THE DEFENDANT:    Yes.

  5                  THE COURT:   Mr. Monarrez, do you find Mr. Yarrington

  6    to be competent and able to assist in his own defense?

  7                  MR. MONARREZ:    Yes, your Honor, as to both.

  8                  THE COURT:   Mr. Yarrington, do you want me to read

  9    the Indictment that's been --

 10                  MR. MONARREZ:    Your Honor, with the Court's

 11    permission, we'll waive the reading of the Indictment and enter

 12    a plea of not guilty.

 13                  THE COURT:   All right.      Let me give you the dates

 14    then for the future proceedings in your case, Mr. Yarrington.

 15    Those dates are as follows:

 16                  Motions are due May the 9th, 2018.

 17                  Response to motions are due May the 23rd, 2018.

 18                  There is a motion hearing before Judge Torteya on May

 19    the 31st, 2019 at 9:00 o'clock in the morning.

 20                  Docket call and final pretrial conference in your

 21    case is scheduled for June the 7th, 2018 at 1:30 in the

 22    afternoon.

 23                  Proposed void dire questions and jury instructions

 24    are due at final pretrial.

 25                  Jury selection in your case is scheduled for June the
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  1    8th, 2018 at 10:30 in the morning.

  2                  Mr. Young, an estimate for the length of trial?

  3                  MR. YOUNG:   I would say two weeks at least,

  4    your Honor.     Between two and three.

  5                  THE COURT:   You're overly optimistic.

  6                  MR. YOUNG:   Right.

  7                  THE COURT:   All right.      Mr. Monarrez, what do you

  8    think?

  9                  MR. MONARREZ:     Your Honor, I think it's closer to

 10    three.

 11                  THE COURT:   I do too.     I'm going to put down, I'm

 12    going to put 20 days.         That's 20 trial days.

 13                  Now let's turn to the question of detention.

 14                  First off, I understand there's been a motion that

 15    was filed by you, Mr. Monarrez, seeking to delay the detention

 16    hearing.      Can you tell me what's going on there?

 17                  MR. MONARREZ:     Yes, your Honor.      As I stated in the

 18    motion, there was conversations I have had with Mr. Yarrington,

 19    my client.     He did indicate to me several things regarding

 20    questions as they relate to his presence in Italy as to the

 21    assertion that he was a fugitive of the law.               I wanted to

 22    explore those particular questions -- or not questions, but

 23    statements that he made to me, just to have an opportunity so I

 24    could proffer to the Court that information after I've verified

 25    it myself.
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  1                  THE COURT:   Mr. Young, what's the Government's

  2    position?

  3                  MR. YOUNG:   We're opposed to postponing your finding.

  4    Nothing prevents him from filing or appealing when he has

  5    information, but 3142 clearly states that a person has five

  6    days, the Government has three days, and so we're looking at --

  7    we'd like go forward.

  8                  THE COURT:   And I'll be perfectly honest with you.

  9    My understanding is, is that Mr. Yarrington was apprehended and

 10    he was extradited and I believe that he was opposed to the

 11    extradition.     Moreover, there's a presumption in this case,

 12    given the sentence and the nature of the offense.               And at this

 13    point I doubt there's anything that you would be able to

 14    introduce at this point that would change the disposition.

 15                  Now, if something changes and you've got something to

 16    submit, you can submit it.         But at this point your request for

 17    delay is denied and Mr. --

 18                  Now, let me ask you this.        Have you received a copy

 19    of the Pretrial Services Report?

 20                  THE DEFENDANT:    Yes.

 21                  THE COURT:   All right.      And have you had a chance to

 22    discuss the contents of the report with Mr. Yarrington?

 23                  MR. MONARREZ:    Yes, your Honor, I have.

 24                  THE COURT:   All right.      Any objections to the

 25    substance of the report?
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  1                  MR. MONARREZ:   Not to the substance, but to the

  2    recommendation, your Honor.

  3                  THE COURT:   All right.     What's the argument?

  4                  MR. MONARREZ:   Your Honor, I do believe one of the

  5    issues here, I know that you were saying that there's certain

  6    cases here that he's been charged with that are presumption

  7    cases and which you don't believe that we're going to be able

  8    to overcome those particular presumptions, but I don't believe

  9    he presents a flight risk.

 10                  THE COURT:   Yeah, I'm not certain it's necessarily

 11    the presumption that's the problem.           I think that

 12    Mr. Yarrington has demonstrated in his flight to start with

 13    that he's a flight risk.

 14                  MR. MONARREZ:   That's what I wanted to address to the

 15    Court, was in my continuance --

 16                  THE COURT:   And like I say, if you come across --

 17                  MR. MONARREZ:   Yes.

 18                  THE COURT:   -- something else that changes that,

 19    please submit it and the Court's not opposed to reconsidering

 20    this disposition.      Of if you're so inclined, you can always

 21    take it up with the District Judge.

 22                  MR. MONARREZ:   Yes, your Honor.

 23                  THE COURT:   But at this point anything else you wish

 24    to offer?

 25                  MR. MONARREZ:   Not at the moment, your Honor.
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  1                  THE COURT:   All right.      Mr. Young, what's the

  2    Government's position?

  3                  MR. YOUNG:   We would ask for detention.          We would

  4    concur with the Pretrial Services Report.             The nature of the

  5    offense obviously does kick in a rebuttal of presumption.

  6    There is an issue of fugitive status for several years.                   He

  7    does have ties to a foreign country.            I would say at least

  8    Italy.   He has relatives in Mexico.           He has no current status

  9    in the United States.         There is a detainer on him.         And for all

 10    those reasons, as well as there's an unverified employment

 11    history, at least the last several years, as well as unverified

 12    resources, it all adds up to I think that obviously detention

 13    would apply.

 14                  THE COURT:   All right.      At this point,

 15    Mr. Yarrington, I'm going to find there are no conditions or

 16    combination of conditions that would assure your presence at

 17    all future proceedings or safeguard the community and you're

 18    ordered held without bond.

 19                  Now, before we remand you back to the custody of the

 20    Marshals, reading this report and reading the assets that are

 21    set forth in the report, when I asked you the other day under

 22    oath if you were able to hire a lawyer, that is, whether you

 23    could afford to pay a lawyer, at that time you told me you were

 24    not, for which reason Mr. Monarrez was appointed to represent

 25    you.   I'm going to tell you again you're still under oath and
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   1   if that situation changes in any way you are to hire a lawyer

   2   and you are then to work out with Mr. Monarrez whatever costs

   3   have been incurred between the time that Mr. Monarrez was

   4   appointed and you retained new counsel.

   5                 Do you understand that?

   6                 THE DEFENDANT:     I do understand.

   7                 THE COURT:     All right, then you're remanded to the

   8   custody of the Marshals pending further proceedings.                Thank you

   9   very much.

  10                 MR. MONARREZ:     If I may be excused, your Honor?

  11                 THE COURT:     Yes, sir.

  12                 MR. YOUNG:     And, your Honor, may Ms. Betancourt and

  13   myself?

  14                 THE COURT:     You may as well.

  15                 MR. YOUNG:     Thank you, your Honor.

  16                 THE COURT:     Mr. Young, let me just ask, did the folks

  17   from Uzbekistan walk out the door and go I hope the rest of the

  18   Judges aren't like him?

  19         (Laughter)

  20                 MR. YOUNG:     They loved it.    Thank you again,

  21   your Honor.     Thank you for your time.

  22                 THE COURT:     Okay.   All right.    Thank you very much.

  23         (This proceeding was adjourned at 1:42 p.m.)

  24

  25
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                                    CERTIFICATION



       I certify that the foregoing is a correct transcript from the

       electronic sound recording of the proceedings in the above-

       entitled matter.




                                                                December 14, 2019

                     Signed                                        Dated




                              TONI HUDSON, TRANSCRIBER




                        EXCEPTIONAL REPORTING SERVICES, INC
